                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION

                                    MINUTE SHEET

UNITED STATES OF AMERICA                              Date:   July 26, 2016

vs.                                                   Case No.: 2:13-CR-4051-BCW-04

MANEKA ROCHON GERMANY



Honorable Brian C. Wimes, presiding at Jefferson City, Missouri

Nature of Hearing: Sentencing

Time Commenced: 10:49 am                               Time Terminated: 11:17 am

                                    APPEARANCES

Plaintiff=s counsel: Jim Lynn
Defendant=s counsel: John Thomas Murray, CJA
Probation officer: Jaime Drummond

Time: 10:49 am      PROCEEDINGS IN COURTROOM: Above parties present. Court
                    adopts Report and Recommendation on Plea of Guilty (Doc #248).
                    Counsel presents arguments regarding objections to Presentence
                    Report and defendant’s objections are denied. Court adopts P.S.I.R.
                    without change. Court asserts statutory guidelines. Counsel makes
                    sentence recommendations. Defendant accorded allocution.

Time: 11:06 am      Informal conference in Chambers with PPTS Officer.

Time: 11:11 am      SENTENCE: Defendant committed to the custody of the BOP for a
                    period of 1 year and 1 day on Count 8 of the 2nd Superseding
                    Indictment; followed by 1 year supervised release on Count 8 of the 2nd
                    Superseding Indictment. Defendant to self-surrender on September
                    9, 2016 by 2:00 pm. FINE: waived; MSA: $100; Restitution not
                    ordered. Dft advised of right to appeal. All remaining counts
                    dismissed upon motion by the Government.



Court Reporter: Denise Halasey
Courtroom Deputy: Carrie James


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